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                     EXHIBIT A
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        The defendant hereby admits the forfeiture allegation with respect to Count One of the
Indictment and agrees to forfeit to the United States, pursuant to Title 18, United States Code,
Section 981(a)(l )(C) and Title 28, United States Code, Section 2 461(c), a sum ofmoney equal to
$22 million in United States currency, representing proceeds traceable to the commission ofsaid
offense (the "Money Judgment"). It is further understood that any forfeiture of the defendant's
assets shall not be treated as satisfaction of any fine, restitution, cost of imprisonment, or any
other penalty the Court may impose upon him in addition to forfeiture. The defendant consents
to the entry ofthe Consent Order ofForfeiture annexed hereto as Exhibit A and agrees that the
Consent Order of Forfeiture shall be final as to the defendant at the time it is ordered by the
Court.

        The defendant further agrees to make restitution in an amount ordered by the Court,
pursuant to Title 18, United States Code, Sections 3663, 3663A, and 3664. The parties
agree, however, that the existence ofa payment plan set by the Court will not bar Governmental
collection efforts against any ofthe defendant's available assets.

       In consideration of the foregoing and pursuant to United States Sentencing Guidelines
("U.S.S.G." or "Guidelines") Section 6Bl.4, the parties hereby stipulate to the following:
       A.      Offense Level

              1.      The Guidelines Manual in effect as of November 1, 2021 applies to this
offense conduct.

               2.     Pursuant to U.S.S.G. § 2BI .l(a)(2), the base offense level is seven.

             3.      Pursuant to U.S.S.G. § 2Bl.l(b)(l )(K), because the loss exceeded
$65,000,000 but was less than $150,000,000, 2 4 levels are added.

              4.      Pursuant to U.S.S.G. § 2B1.1(b)(2)(A)(i), because the offenses involved 10
or more victims, two levels are added.

               5.     Pursuant to U.S.S.G. § 2Bl.l(b)(10)(C), because the offense involved
sophisticated means and the defendant intentionally engaged·in or caused the conduct constituting
sophisticated means, two levels are added.

                6. Pursuant to U.S.S.G. § 2Bl.l(b)(20)(A), because the offense involved a
violation of the securities law and, at the time of the offense, the defendant was an investment
adviser, or a person associated with an investment adviser, four levels are added.

               7. Pursuant to U.S.S.G. § 3Cl .l , because the defendant willfully obstructed or
impeded, or attempted to obstruct or impede, the administration ofjustice with respect to the
investigation of the instant offense of conviction and the obstructive conduct related to the
defendant's offense ofconviction, two levels are added.

                 8.    Assuming the defendant clearly demonstrates acceptance ofresponsibility,
to the satisfaction ofthe Government, through his allocution and subsequent conduct prior to the
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Similarly, nothing in this Agreement limits the right of the Government to seek an enhancement
for obstruction of justice, see U.S.S.G. § 3Cl.1, regardless of any stipulation set forth above,
should it be determined that the defendant has either (i) engaged in conduct, unknown to the
Government at the time of the signing of this Agreement, that constitutes obstruction of justice or
(ii) committed another crime after signing this Agreement.

        It is understood that pursuant to U.S.S.G. § 6B l .4(d), neither the Probation Office nor the
Court is bound by the above Guidelines stipulation, either as to questions of fact or as to the
determination of the proper Guidelines to apply to the facts. In the event that the Probation Office
or the Court contemplates any Guidelines adjustments, departures, or calculations different from
those stipulated to above, or contemplates any sentence outside of the stipulated Guidelines range,
the parties reserve the right to answer any inquiries and to make all appropriate arguments
concerning the same.

       It is understood that the sentence to be imposed upon the defendant is determined solely
by the Court. It is further understood that the Guidelines are not binding on the Court. The
defendant acknowledges that his entry of a guilty plea to the charged offenses authorizes the
sentencing court to impose any sentence, up to and including the statutory maximum sentence.
This Office cannot, and does not, make any promise or representation as to what sentence the
defendant will receive. Moreover, it is understood that the defendant will have no right to
withdraw his plea of guilty should the sentence imposed by the Court be outside the Guidelines
range set forth above.

        It is agreed (i) that the defendant will not file a direct appeal; nor bring a collateral
challenge, including but not limited to an application under Title 28, United States Code, Section
2255 and/or Section 2241, of any sentence within or below the Stipulated Guidelines Range of235
to 240 months' imprisonment, and (ii) that the Government will not appeal any sentence within or
above the Stipulated Guidelines Range. This provision is binding on the parties even if the Court
employs a Guidelines analysis different from that stipulated to herein. Furthermore, it is agreed
that any appeal as to the defendant's sentence that is not foreclosed by this provision will be limited
to that portion of the sentencing calculation that is inconsistent with (or not addressed by) the
above stipulation. The parties agree that this waiver applies regardless of whether the term of
imprisonment is imposed to run consecutively to or concurrently with the undischarged portion of
any other sentence of imprisonment that has been imposed on the defendant at the time of
sentencing in this case. The defendant further agrees not to appeal or bring a collateral challenge
of any term of supervised release that is less than or equal to the statutory maximum. The
defendant also agrees not to appeal or bring a collateral challenge of any fine that is less than or
equal to $5,000,000, and any forfeiture amount that is less than or equal to $22 million. The
Government agrees not to appeal or bring a collateral challenge of any fine that is greater than or
equal to $50,000, and any forfeiture amount that is greater than or equal to $22 million.
Notwithstanding the foregoing, nothing in this paragraph shall be construed to be a waiver of
whatever rights the defendant may have to assert claims of ineffective assistance of counsel,
whether on direct appeal, collateral review, or otherwise. Rather, it is expressly agreed that the
defendant reserves those rights.
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